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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:07-cr-00201
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
DOUGLAS MEDDING GATES,              )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 9, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Douglas Medding Gates entered a plea of guilty to Count 1 of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. In Count 1

of the Indictment, defendant is charged with conspiracy to possess with intent to defraud and to pass

counterfeit United States currency in violation of 18 U.S.C. §§ 371 and 472. On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 1 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge. The clerk is directed to procure a transcript of the plea hearing for review by the District

Judge.



Date: October 15, 2007                                  /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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